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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                     Plaintiff,             )
                                            )                   8:06CR116
       vs.                                  )
                                            )                     ORDER
JOHNNY NEWELL,                              )
                                            )
                     Defendant.             )



       This matter is before the court on defendant's unopposed S ECOND MOTION TO
ENLARGE TIME TO FILE PRETRIAL MOTIONS [187]. For good cause shown, I find that the
motion should be granted. The defendant will be given an approximate 14-day extension.
Pretrial Motions shall be filed by November 1, 2006.

       IT IS ORDERED:

        1.    Defendant's SECOND MOTION TO ENLARGE TIME TO FILE PRETRIAL MOTIONS
[187] is granted. Pretrial motions shall be filed on or before November 1, 2006.

       2.      The ends of justice have been served by granting such motion and
outweigh the interests of the public and the defendant in a speedy trial. The additional
time arising as a result of the granting of the motion, i.e., the time between October
18, 2006 and November 1, 2006, shall be deemed excludable time in any computation
of time under the requirement of the Speedy Trial Act for the reason defendant's
counsel required additional time to adequately prepare the case, taking into
consideration due diligence of counsel, and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B).

       DATED this 18th day of October, 2006.

                                          BY THE COURT:


                                          s/ F.A. Gossett
                                          United States Magistrate Judge
